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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY
                                  CAMDEN VICINAGE



  DEREK SCHAFFER, Individually                      Civil No. 18-8842 (NLH/AMD)
  and on Behalf of Home Mortgage
  Corporation and CARL
  DIANTONIO, Individually and on
  Behalf of Home Mortgage
  Corporation,

                      Plaintiffs,

         v.

  HOME MORTGAGE CORPORATION, et
  al.,

                      Defendants.



                                            ORDER

               This matter comes before the Court sua sponte in light

 of Plaintiffs Derek Schaffer and Carl DiAntonio’s failure to

 appear for court-ordered hearings; failure to respond to the

 Court’s      Order    to   Show    Cause,    and    failure     to    prosecute      their

 case;     and    the       Court    having         considered        the    Report        and

 Recommendation         submitted     by     the    Honorable     Ann       Marie    Donio,

 United       States    Magistrate      Judge,       pursuant     to        28    U.S.C.     §

 636(b)(1)(B) and (C); and the parties having been notified that

 they    had    fourteen     (14)    days    from     receipt    of    the       Report    and

 Recommendation to file and serve objections pursuant to Local


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 Civil Rule 72.1(c)(2), and no objections having been received;

 and   the   Court   finding   that   the   Report   and   Recommendation   is

 neither clearly erroneous, nor contrary to law; and for good

 cause shown:

                            31st day of ______________
             IT IS on this _____          December     2020 hereby

             ORDERED that the Report and Recommendation is ADOPTED;

 and it is further

             ORDERED that Plaintiffs’ complaint shall be, and is

 hereby, DISMISSED WITH PREJUDICE.



                                    s/ Noel L. Hillman
                               ___________________________________
  At Camden, New Jersey            NOEL L HILLMAN, U.S.D.J.




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